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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                             DEL RIO DIVISION

MONICA M. GALLEGOS, individually §
As Wrongful Death Beneficiary and as §
Representative of the Estate of A.G.R., §
deceased minor,                         §
                                        §
       Plaintiffs,                      §
                                        §
v.                                      §       C.A. NO.: 2:24-CV-00050-AM
                                        §
JUAN MALDONADO, an individual;          §
CRIMSON ELIZONDO, an individual; §
RICHARD BOGDANSKI, an individual; §
LUKE WILLIAMS, an individual            §
CHRISTOPHER KINDELL, an                 §
individual; JOEL BETANCOURT,            §
an individual; VICTOR ESCALON,          §
an individual; TEXAS DEPARTMENT §
OF PUBLIC SAFETY DOES 1 through §
84; MANDY GUTIERREZ, an                 §
individual; UVALDE CONSOLIDATED §
INDEPENDENT SCHOOL DISTRICT; §
PEDRO “PETE” ARREDONDO, an              §
individual; ADRIAN GONZALES, an §
individual; JESUS “JJ” SUAREZ, an       §
individual; and MOTOROLA                §
SOLUTIONS, INC.,                        §
                                        §
       Defendants.                      §

                                        ORDER

      Pending before the Court is Defendant Mandy Gutierrez’s Motion to Dismiss

Pursuant to Rules 12(b)(1) and (6). Upon consideration of the Motion, it is the opinion of

this Court that Ms. Gutierrez’s Motion should be GRANTED.
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      It is, therefore, ORDERED that the Motion is GRANTED, and Plaintiffs’ claims

against Ms. Gutierrez are dismissed with prejudice.



      SIGNED this _____ day of ________________ 2024.




                                         ______________________________________
                                         UNITED STATES DISTRICT JUDGE




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